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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION



UNITED STATES OF AMERICA
                                           CASE NO: 09-20523-01
vs.
                                           DISTRICT JUDGE THOMAS L. LUDINGTON
ROCKY RAY CORLEW                           MAGISTRATE JUDGE CHARLES E. BINDER
                                    /


                                  ORDER REVOKING BOND

        The above named Defendant appeared before this Magistrate Judge on December 18,

2009 for initial appearance and with counsel on December 21, 2009, for Bond Revocation

hearing. A Bond Status Letter from his supervising Pretrial Services Officer describes

multiple violations of bond, specifically the prohibition against the use of controlled

substances unless they are prescribed by a physician. At the hearing, both defense counsel

and government counsel presented arguments to the Court regarding those allegations.

After considering the evidence adduced at the hearing, pursuant to 18 U.S.C. § 3148(b), I

conclude that 1) pursuant to section (b)(1)(A) there is clear and convincing evidence that the

Defendant violated conditions of his bond; and 2) pursuant to sections (b)(2)(A) and (B), there

are no conditions or combination of conditions of release that will assure that the Defendant

will not pose a danger to the community, and that Defendant is unlikely to abide by any

conditions or combination of conditions of release.

        Therefore, IT IS HEREBY ORDERED that pursuant to 18 U.S.C. § 3148(b), the

Defendant's bond is hereby REVOKED, and the Defendant is remanded to the custody of the

U.S. Marshal.



                                                   s/   Charles E Binder
                                                                 `


                                                  CHARLES E. BINDER
Dated: December 23, 2009                          United States Magistrate Judge
    Case 1:09-cr-20523-TLL-PTM ECF No. 29, PageID.55 Filed 12/23/09 Page 2 of 2




                                       CERTIFICATION

      I hereby certify that this Order was electronically filed this date, electronically served
on Janet Parker and Ken Sasse, served in the traditional manner on District Judge Ludington,
and served on Pretrial Services and the U.S. Marshal’s office in Bay City by other electronic
means.

Date: December 23, 2009                  By    s/Jean L. Broucek
                                         Case Manager to Magistrate Judge Binder
